Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 1 of 17 Page ID #:1746




    1 Rajan O. Dhungana (SBN: 297794)
         rdhungana@fedpractice.com
    2 Eric S. Montalvo (Pro Hac Vice)
    3    emontalvo@fedpractice.com
      FEDERAL PRACTICE GROUP
    4 14481 Aspen Street
    5 Hesperia, CA 92344
      Telephone: (310) 795-6905
    6 Attorneys for Plaintiff
    7 Moses Heredia
    8
                          UNITED STATES DISTRICT COURT
    9
                         CENTRAL DISTRICT OF CALIFORNIA
   10
                                    (Eastern Division)
   11
        MOSES HEREDIA,                        Case No.: 5:20-cv-02618-JWH-KKx
   12
      Plaintiff,                              JOINT RULE 26(f) REPORT
   13 vs.
                                              Scheduling Conference: October 21,
   14                                         2022 at 11:00 a.m.
   15 MTK GLOBAL SPORTS                       Courtroom:    9D
      MANAGEMENT, LLC; MTK                    Judge:        Hon. John W. Holcomb
   16
      GLOBAL USA, LLC; GOLDEN BOY
   17 PROMOTIONS, INC.; PAUL D.
      GIBSON; and DANIEL KINAHAN,
   18
      Defendants.
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                JOINT RULE 26(f) REPORT
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 2 of 17 Page ID #:1747




    1 TO THE HONORABLE JUDGE JOHN W. HOLCOMB:
    2            Plaintiff Moses Heredia hereby submits his “Joint” Rule 26(f) Report pursuant
    3 to Federal Rule of Civil Procedure 26(f), Local Rule 26-1, and this Court’s Order.
    4 [ECF 115]. No opposing parties are available to meet and confer with undersigned
    5 counsel because they either have not been served (Paul Gibson) or re-served (MTK
      Global Sports Management, LLC; Daniel Kinahan), or new counsel has not entered
    6
      an appearance and the party is not allowed to appear pro se (MTK Global USA,
    7
      LLC). Accordingly, Mr. Heredia submits this Joint Rule 26(f) Report individually,
    8
      by the deadline for its joint submission.
    9
      1. Statement of the Case:
   10
             (a) Plaintiffs’ Statement: This case arises from efforts undertaken by
   11
      Defendant Daniel Kinahan 1 and his associates to establish what are purported to be
   12
      “legitimate businesses,” such as MTK Global and MTK USA, as a front to launder
   13 criminal proceeds from Kinahan’s international criminal enterprise, the Kinahan
   14 Organized Crime Group (“KOCG”), which they would then use to improperly
   15 poach boxers from their duly-licensed managers. The result of this scheme, which
   16 Heredia alleges were Racketeer Influenced and Corrupt Organizations Act
   17 (“RICO”) violations, was that Kinahan and his associates used their extraordinary
   18 but ill-gotten financial resources and violent reputations to bully their way into the
   19 world of professional boxing.
   20            After pillaging the European boxing market, Kinahan set his sights on doing
   21 the same in the United States. One of Kinahan and his associates’ first U.S.
   22 acquisition targets was Joseph P. Diaz Jr. (“Diaz”), a then-recently-crowned world
   23 champion boxer in a lucrative weight class who was managed by Heredia and who
   24 had strong marketability and profitability potential. They found an ally in boxing
        promotion firm Golden Boy.
   25
                 Golden Boy had become increasingly hostile to Heredia given Heredia’s
   26
   27      1
               Golden Boy has been dismissed without prejudice per the Court’s order that the arbitrability
   28 of Plaintiff’s claims against Golden Boy must be determined by the arbitrator. [ECF 116]
                                                           1
                                                               JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 3 of 17 Page ID #:1748




    1 fierce negotiations on Diaz’s behalf to maximize Diaz’ payday from each bout.
    2 Golden Boy had unsuccessfully attempted to induce fighters to leave Heredia’s team,
    3 and this was raised with Golden Boy leadership prior to Kinahan’s entry into the
    4 U.S. boxing market. Despite Heredia having had an exclusive boxer-manager
    5 contract with Diaz, the Defendants, none of whom were California licensed boxer
        managers, lured Diaz away from Heredia, interfering with the boxer-manager
    6
        contract between them, ultimately to Heredia’s financial, professional, and
    7
        reputational detriment.
    8
              Defendants MTK Global, Kinahan, and Gibson all are reported to have
    9
        connections with organized crime; Kinahan is alleged by the U.S. Department of
   10
        Treasury to be operating a transnational criminal organization, and along with
   11
        KOCG, is a Specially Designated National (“SDN”) by the Office of Foreign Assets
   12
        Control (“OFAC”). Kinahan is a narco-terrorist wanted on at least two continents
   13 and is reportedly hiding in Dubai, United Arab Emirates, a country without an
   14 extradition treaty with the United States. Days after Kinahan was put on the SDN
   15 list, MTK Global and MTK USA announced they were ceasing operations.
   16        Heredia seeks compensatory and punitive damages, and recovery of his
   17 attorneys’ fees, against the defendants for RICO violations, tortious interference with
   18 contract, inducing breach of contract, intentional interference with prospective
   19 economic relations, and negligent interference with prospective economic relations.
   20         (b) Defendants’ Statement:
   21
   22 2. Subject Matter Jurisdiction:
   23       Plaintiff’s Position:

   24         This Court has subject-matter jurisdiction over the RICO counts pursuant to
        18 U.S.C. § 1964(c) and 28 U.S.C. § 1331. This Court has supplemental
   25
        jurisdiction over California state law claims under 28 U.S.C. § 1367(a), because
   26
        the California state law claims are so related to claims in the action within such
   27
        original jurisdiction that they form part of the same case or controversy under
   28
        Article III of the United States Constitution.
                                                    2
                                                         JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 4 of 17 Page ID #:1749




    1        Defendants’ Position:
    2 3. Legal Issues:
    3       Plaintiff’s Position:
    4        The key legal issues are:
    5        1. First Cause of Action – RICO § 1962(a) – Acquiring an interest in an
    6           enterprise by use of income: Whether any or all of Defendants MTK, MTK
    7           USA, Kinahan, and Gibson acquired an interest in an enterprise, or
    8           established the operation of an enterprise, using income acquired through
    9           a pattern of racketeering activity (“PORA”) or collection of an unlawful
   10           debt;

   11        2. Second Cause of Action – RICO § 1962(b) – Acquiring or maintaining an

   12           interest in or control of an enterprise: Whether any or all of Defendants
                MTK, MTK USA, Kinahan, and Gibson acquired or maintained an interest
   13
                in an enterprise using income acquired through a PORA or collection of an
   14
                unlawful debt;
   15
             3. Third Cause of Action – RICO § 1962(c) –Conduct the affairs of the
   16
                enterprise: Whether any or all of Defendants MTK, MTK USA, Kinahan,
   17
                and Gibson directly or indirectly performed any actions that involve the
   18
                acts, functions, or duties related to the operation or management of an
   19
                enterprise, through a PORA or collection of unlawful debt;
   20        4. Fourth Cause of Action – RICO § 1962(d) – Conspiracy to conduct the
   21           affairs of an enterprise: Whether any or all of Defendants MTK, MTK
   22           USA, Kinahan, and Gibson conspired to violate RICO §§ 1962 (a), (b), or
   23           (c);
   24        5. Fifth Cause of Action – Tortious interference with contract – Boxer
   25           Manager Contract: Whether any or all of Defendants MTK, MTK USA,
   26           Gibson, and GBP tortiously interfered with Plaintiff’s exclusive Boxer-
   27           Manager Contract with non-party Joseph Diaz, Jr., by instructing Mr. Diaz
   28
                                                3
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 5 of 17 Page ID #:1750




    1              to order GBP2 to withhold from Plaintiff monies lawfully due Plaintiff
    2              under the Boxer-Manager Contract, and when such funds were withheld;
    3              when they impugned Plaintiff’s reputation, integrity, character, and
    4              competence through the media including social media; when they

    5              interfered further with Plaintiff’s relationship with Mr. Diaz; and through
                   other actions;
    6
               6. Sixth Cause of Action – Tortious interference with contract – Promoter-
    7
                   Manager Contract: Whether either or both of Defendants MTK and MTK
    8
                   USA tortiously interfered with the Promotion-Manager Contract between
    9
                   Diaz and GBP, to which Plaintiff was a third-party beneficiary, when they
   10
                   directed GBP not to engage with Plaintiff on any bouts under Diaz’s
   11
                   contract with Plaintiff, thus disrupting the Promoter-Manager Contract,
   12
                   and interfering in Plaintiff’s Boxer-Manager Contract with Diaz.
   13          7. Seventh Cause of Action – Inducing breach of contract – Boxer-Manager
   14              Contract: Whether any or all of Defendants MTK, MTK USA, and GBP3
   15              intentionally caused Mr. Diaz to breach his Boxer-Manager Contract with
   16              Plaintiff when one or more of them instructed Mr. Diaz to order GBP not
   17              to pay Plaintiff his contractually-require 18% management fee from the
   18              February 13, 2021 and July 9, 2021 bouts, and when the management fees
   19              were not paid from the February bout and were only paid from the July
   20              bout after Plaintiff won an arbitration award against Mr. Diaz on, among
   21              other things, Mr. Diaz’s non-payment of the July bout management fees;
   22          8. Eighth Cause of Action – Intentional Interference with Prospective

   23              Economic Relations: Whether any or all of Defendants MTK, MTK USA,

   24              and GBP4 intentionally interfered in the economic relationship between

   25
           2
            Plaintiff’s claims against GBP have been dismissed without prejudice pending a
   26 determination   of arbitrability by an arbitrator.
          3
   27       Plaintiff’s claims against GBP have been dismissed without prejudice pending a
        determination of arbitrability by an arbitrator.
   28       4
              Plaintiff’s claims against GBP have been dismissed without prejudice pending a
        determination of arbitrability by an arbitrator.
                                                        4
                                                            JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 6 of 17 Page ID #:1751




    1           Plaintiff and Mr. Diaz that likely would have resulted in an economic
    2           benefit to Plaintiff when one or more of them instructed Mr. Diaz to order
    3           GBP not to pay Plaintiff his contractually-required 18% management fee
    4           from the February 13, 2021 and July 9, 2021 bouts, and when the

    5           management fees were not paid from the February bout and were only paid
                from the July bout after Plaintiff won an arbitration award against Mr. Diaz
    6
                on, among other things, Mr. Diaz’s non-payment of the July bout
    7
                management fees, and when any or all of said Defendants engaged in
    8
                conduct that was wrongful by some legal measure other than the fact of the
    9
                interference itself; and
   10
             9. Ninth Cause of Action – Negligent interference with prospective economic
   11
                relations: Whether either or both of Defendants MTK and MTK USA
   12
                negligently interfered in the economic relationship between Plaintiff and
   13           Mr. Diaz that likely would have resulted in an economic benefit to Plaintiff
   14           when one or more of them failed to act with reasonable care when they
   15           instructed Mr. Diaz to order GBP not to pay Plaintiff his contractually-
   16           required 18% management fee from the February 13, 2021 and July 9,
   17           2021 bouts, and when the management fees were not paid from the
   18           February bout and were only paid from the July bout after Plaintiff won an
   19           arbitration award against Mr. Diaz on, among other things, Mr. Diaz’s non-
   20           payment of the July bout management fees.
   21
   22        Unusual legal issues:

   23        1. Kinahan is an SDN and the subject of up to a $5 million reward from the

   24           U.S. State Department for information leading to his arrest and/or
                conviction. Although he is reportedly hiding, Plaintiff’s counsel is
   25
                confident that he will be served in this matter.
   26
             2. As an SDN, all Kinahan’s property and interests in property that are in the
   27
                United States or in the possession or control of U.S. persons must be
   28
                blocked and reported to OFAC. Counsel believes that this may slow but
                                              5
                                                     JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 7 of 17 Page ID #:1752




    1            not prevent seizure of Kinahan’s assets, pursuant to a default judgment or
    2            after a merits hearing.
    3         3. MTK Global reportedly has “ceased operations.” It is unclear whether this
    4            includes dissolution of the entity. Through appropriate discovery of related

    5            entities and persons, Plaintiff intends to determine whether individuals or
                 another entity may be an appropriate substitute.
    6
              Defendant’s Position:
    7
    8
        4. Parties, Evidence, etc.:
    9
        Plaintiff’s Parties and Witnesses:
   10
              a. Moses Heredia (Plaintiff)
   11
              b. Daniel Kinahan (Defendant)
   12
              c. MTK Global Sports Management, LLC representative (Defendant)
   13         d. MTK Global USA, LLC representative (Defendant)
   14         e. Paul Gibson (Defendant)
   15         f. Golden Boy Promotions, Inc. representative (dismissed Defendant)
   16         g. Joseph Diaz, Jr. (witness)
   17         h. Ralph Heredia (witness)
   18         i. Bob Arum (witness)
   19         j. Bob Yalen (witness)
   20         k. Witnesses identified by any other party or revealed through discovery
   21 Defendants’ Parties and Witnesses:
   22
   23 Plaintiff’s Key Documents:
   24 1. Moses Heredia Boxing Manager License;
        2. February 23, 2017 Boxer-Manager Contract No. 2017-0006 and the February 24,
   25
        2017 “Notice of Approved Contract” from the California State Athletic
   26
        Commission signed by Heather Jackson of the California State Athletic
   27
        Commission;
   28
        3. March 2017 emails concerning the new Promotion Contract Term Sheet;
                                                6
                                                      JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 8 of 17 Page ID #:1753




    1 4. March 22, 2017 Promotion Contract Term Sheet among Diaz, Golden Boy, and
    2 Moses Heredia;
    3 5. Emails concerning the Tevin Farmer bout between Roberto Diaz of Golden Boy
    4 and the Heredias;
    5 6. Pictures of the cut above Diaz’ eye post-Farmer bout;
        7. Medical documents and emails concerning Diaz’ recovery post Farmer bout;
    6
        8. News stories concerning the California State Athletic Commission’s decision
    7
        concerning COVID-19;
    8
        9. August 12, 2020 public announcement by MTK Global concerning its signing of
    9
        Diaz;
   10
        10. Screenshots from MTK Global;
   11
        11. Press releases from MTK Global;
   12
        12. Declaration of Moses Heredia;
   13 13. Text message from Diaz to Moses Heredia on July 24, 2020;
   14 14. Declaration of Ralph Heredia;
   15 15. Relevant text messages to Ralph Heredia;
   16       a. November 26, 2019 text concerning Diaz’ response to Golden Boy’s
   17           tactics over the Farmer bout;
   18           b. February 2020 text from Mike Powers offering a $150,000 loan;
   19           c. March 2020 Drug Test administered by Diaz Sr. (and test interpretation
   20           materials);
   21           d. July 14, 2020 text from Diaz in response to not having to fight the
   22           rematch with Tevin Farmer;

   23           e. August 3, 2020 text from Diaz requesting $2,500 and request to go over

   24           current outstanding debt;
                f. August 9, 2020 text from Diaz stating signed a deal with MTK Global;
   25
                g. March 15, 2021 inadvertent text from Diaz seeking illegal drugs;
   26
        16. October 2018 Email communications between Diaz and Ralph Heredia
   27
        concerning Diaz’ gambling addiction;
   28
        17. Invoices and Communications with Dr. Steve Brown;
                                               7
                                                        JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 9 of 17 Page ID #:1754




    1 18. July 17, 2020 text from Breezh Nunez;
    2 19. Declaration of Lynnay Navarette;
    3 20. Check paid to Steve Martin to represent Diaz in hearing for protective order
    4 concerning Navarette;
    5 21. August 20, 2020 Request for Arbitration submitted by Moses Heredia;
        22. November 9, 2020 email from VGC to Golden Boy;
    6
        23. Public Announcement concerning Diaz’ February 13, 2021 bout against
    7
        Shavkatdzhon Rakhimov;
    8
        24. News story concerning Diaz failing to make weight for the February 13, 2021
    9
        bout;
   10
        25. September 9, 2019 email from Diaz requesting a $245,000 loan in exchange for
   11
        30% management fees;
   12
        26. August 31, 2020 email from Mark St. Pierre of Closers Corp, LLC;
   13 27. Diaz’ arrest and court records;
   14 28. Bout accounting;
   15 29. Debt accounting with receipts;
   16 30. Press concerning MTK’s management of Diaz;
   17 31. DAZN article concerning the Rakhimov bout;
   18 32. Transcript of arbitration proceedings in “In the Matter of the Arbitration of
   19 Contract Dispute Between MOSES HEREDIA, Manager, and JOSEPH DIAZ, JR.,
   20 Boxer;”
   21 33. MTK Business advisory agreement signed by Diaz; and
   22 34. Record(s) of the $100,000 payment from an MTK Defendant to Diaz to induce
   23 Diaz to breach his boxer-manager agreement with Moses Heredia.
   24 35. Heredia’s exhibits in the arbitration
      36. Diaz’s exhibits in the arbitration
   25
   26
        Defendants’ Key Documents:
   27
   28
                                                  8
                                                      JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 10 of 17 Page ID #:1755




     1 5. Damages:
     2         Plaintiff’s Position:
     3         Plaintiff seeks compensatory and punitive damages, as well as the recovery
     4 of his attorneys’ fees, an amount of which will be determined at trial. The realistic
     5 range of provable damages will be based on the loss of income and reputational
         damages suffered by Plaintiff as a result of the Defendants’ conduct. The RICO
     6
         violations authorize treble damages, which Plaintiff will vigorously pursue.
     7
               Defendants’ Position:
     8
     9
         6. Insurance:
    10
               Plaintiff’s Position:
    11
               Plaintiff has identified no policy of insurance that may provide coverage in
    12
         this matter.
    13         Defendants’ Position:
    14
    15 7. Motions:
    16      Plaintiff’s Position:
    17         Plaintiff expects to move for an entry of default and a default judgment against
    18 any Defendant that does not answer or otherwise timely respond to the Complaint or
    19 who fails to defend itself. After discovery, Plaintiff may determine that a motion for
    20 summary judgment is appropriate.
    21     Defendants’ Position:
    22
    23 8. Manual for Complex Litigation:
    24      The Parties do not anticipate utilizing the Manual for Complex Litigation.
         9. Status of Discovery:
    25
               Plaintiff’s Position:
    26
               Plaintiff will make his Rule 26(a) Initial Disclosures within thirty days of a
    27
         Defendant responding or otherwise answering the complaint. Limited settlement
    28
         discussions have occurred but have not been successful.
                                                  9
                                                       JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 11 of 17 Page ID #:1756




     1 10. Discovery Plan:
     2       Plaintiff’s Plan:
     3       a. No changes to the Rule 26(a) disclosures need be made.
     4       b. Subjects on which discovery may be needed:

     5          1. For the RICO-related claims, discovery will be required on the source
                   of funding that Kinahan used to establish and control the MTK entities,
     6
                   including taking appropriate judicial notice of facts already established
     7
                   elsewhere; the relevant Defendants’ acts on behalf of the other; their
     8
                   control of the MTK entities; their state of mind; damages suffered by
     9
                   Plaintiff; any other issues that may develop through discovery and
    10
                   investigation.
    11
                2. For the state law claims, discovery will be required on the non-Kinahan
    12
                   Defendants’ orders to Diaz to instruct GBP to withhold money from
    13             Heredia;      their   knowledge    of   the   contracts   at   issue;   their
    14             communications surrounding Diaz’s entry into the “business advisory
    15             agreement” with MTK; their state of mind; damages suffered by
    16             Plaintiff; any other issues that may develop through discovery and
    17             investigation.
    18       c. Discovery need not be conducted in phases or otherwise limited beyond
    19          the limits already established in the Federal Rules of Civil Procedure and
    20          the Local Rules.
    21       d. No discovery limitations need be changed or imposed beyond the limits
    22          already established in the Federal Rules of Civil Procedure and the Local

    23          Rules.

    24       e. Plaintiff does not anticipate that the Court will need to enter other
                discovery-related orders, except possibly a Protective Order should one
    25
                become necessary.
    26
    27
    28
                                                 10
                                                       JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 12 of 17 Page ID #:1757




     1         Defendants’ Plan:
     2 11. Discovery Cut-Off:
     3       The Parties propose a discovery cut-off date of September 1, 2023.
     4 12. Expert Discovery:
     5       The Parties propose expert witness disclosures (initial) be disclosed by
         October 27, 2023, and expert disclosure (rebuttal) by December 1, 2023. The
     6
         Parties propose a cut-off date for expert witness discovery of January 5, 2024.
     7
         13. Dispositive Motions:
     8
               Plaintiff’s Motions: Plaintiff anticipates that he may bring a motion for entry
     9
         of default and a default judgment against any Defendant who does not answer or
    10
         otherwise timely respond to the Complaint. After discovery is completed, Plaintiff
    11
         will evaluate whether to file a motion for summary judgment.
    12
               Defendants’ Motions:
    13
    14 14. Settlement /Alternative Dispute Resolution (ADR):
    15       Although the Parties have attempted to resolve their disputes, no discussions
    16 have been successful to date. The Parties are open to participating in ADR through
    17 the Court Mediation Panel.
    18 15. Trial Estimate:
    19         The trial of this matter will be by the court with a jury. The Parties have not
    20 completed sufficient discovery to realistically know the length of the trial but
    21 anticipate that the trial of this matter will take approximately seven to ten days.
    22 Plaintiff anticipates calling approximately fifteen to twenty witnesses. Defendants
    23 anticipate calling approximately _____ witnesses.
    24 16. Trial Counsel:
             Plaintiff: Eric Montalvo and Rajan O. Dhungana
    25
             Defendant MTK Global Sports Management, LLC:
    26
             Defendant MTK USA, LLC:
    27
             Defendant Daniel Kinahan:
    28
             Defendant Paul Gibson:
                                                11
                                                       JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 13 of 17 Page ID #:1758




     1 17. Independent Expert or Master:
     2         The appointment of a master is not necessary at this time.
     3 18. Timetable:
     4       Please see Exhibit “A”, which is attached hereto for the Parties’ proposed

     5 timetable (Schedule of Pretrial and Trial Dates form).
       19. Amending Pleadings and Adding Parties:
     6
             Plaintiff’s Position:
     7
             Plaintiff does not currently intend to amend its Third Amended Complaint or
     8
       add parties but reserves the right to seek leave of Court to do so in the future.
     9
             Defendants’ Position:
    10
    11
         20. Other Issues:
    12
               Plaintiff’s Position:
    13         Unusual legal issues:
    14      1. Kinahan and Gibson are outside the United States. Kinahan is in hiding.
    15         Service on these individual defendants may take longer than for a defendant
    16         located in the United States, given the more complex procedures involved.
    17         Plaintiff’s counsel is diligently and persistently moving forward on service of
    18         process, some of which has been delayed due to modified rules at the
    19         applicable consulates, and at the U.S. State Department, regarding in-person
    20         visits.
    21      2. Service on the foreign corporate defendants is complicated by the same set of
    22         considerations as for the individual foreign defendants. There may also be

    23         some additional investigation necessary to determine the status of the

    24         corporate entity. Plaintiff’s counsel is diligently conducting said investigation
               and factoring it into the service protocol to expedite it as much as possible.
    25
            3. Kinahan is an SDN and the subject of up to a $5 million reward from the U.S.
    26
               State Department for information leading to his arrest and/or conviction.
    27
               Although he is reportedly hiding, Plaintiff’s counsel is confident that he will
    28
               be served in this matter.
                                                    12
                                                         JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 14 of 17 Page ID #:1759




     1     4. As an SDN, all Kinahan’s property and interests in property that are in the
     2        United States or in the possession or control of U.S. persons must be blocked
     3        and reported to OFAC. Counsel believes that this may slow but not prevent
     4        seizure of Kinahan’s assets, pursuant to a default judgment or after a merits

     5        hearing.
           5. MTK Global reportedly has “ceased operations.” It is unclear whether this
     6
              includes dissolution of the entity. Through appropriate discovery of related
     7
              entities and persons, Plaintiff intends to determine whether individuals or
     8
              another entity may be an appropriate substitute.
     9
    10
              Defendants’ Position:
    11
    12
         21. Consent to Proceed Before Magistrate Judge:
    13        Counsel for Plaintiff has considered whether a Magistrate Judge of this Court
    14 should conduct any and all necessary proceedings and order the entry of judgment
    15 in this matter pursuant 28 U.S.C. § 636(c) and General Order 12-01. Plaintiff does
    16 not consent to the assignment of this matter to a Magistrate Judge.
    17
    18 Dated: October 7, 2022
    19 Respectfully submitted,                FEDERAL PRACTICE GROUP
    20
    21                                        By: ___________________
    22                                        Rajan O. Dhungana
    23                                        Eric S. Montalvo
                                              Attorneys for Plaintiff
    24                                        Moses Heredia
    25
    26
    27
    28
                                                 13
                                                      JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 15 of 17 Page ID #:1760




                                           ATTESTATION
     1
               Pursuant to Local Rule 5-4.3.4(a)(2)(i), this signatory attests that none of the
     2
         other parties has appeared through counsel or has been dismissed without prejudice
     3
         by the Court, so no consent to filing by any other party is possible.
     4
     5
     6                                          By:_________________
                                                   Rajan O. Dhungana
     7
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                                                         JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 16 of 17 Page ID #:1761




                 EXHIBIT A: SCHEDULE OF PRETRIAL AND TRIAL DATES
     1                                WORKSHEET
     2
     3                Case No.:    5:20-cv-02618-JWH-KKx

     4             Case Name: Moses Heredia v. MTK Global Sports Management,
                              LLC, et al.
     5           Event               Plaintiff’s   Defendants’         Court’s Order
                                      Request        Request
     6                             month/day/year month/day/year
     7   X Jury Trial or          March 4, 2024
         Bench Trial (Monday
     8   at 9:00 a.m.)
         Length: 7-10 days
     9
         Final Pretrial           Feb. 16, 2024
    10   Conference [L.R. 16]
         (Friday−17 days
    11   before trial date)
    12   Hearing on Motions in    Feb. 9, 2024
         Limine (Friday−7
    13   days before Final
    14   PTC)
         Last Date to Hear      Jan. 12, 2024
    15   Non-Discovery Motions
    16   Last Date to Conduct   Jan. 26, 2024
         Settlement Conference
    17
         All Discovery Cut-Off Sept. 1, 2023
    18   (including hearing all
         discovery motions)
    19                          Dec. 1, 2023
         Expert Disclosure
    20   (Rebuttal)
         Expert Disclosure      Oct. 27, 2023
    21
         (Initial)
    22
             ADR [L.R. 16-15] Settlement Choice:
    23
             X            Attorney Settlement Officer Panel
    24
                          Private Mediation (Plaintiff’s Choice)
    25
    26                    Magistrate Judge (Defendants’ Choice)

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                                                       JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 5:20-cv-02618-JWH-KK Document 119 Filed 10/07/22 Page 17 of 17 Page ID #:1762




     1                             CERTIFICATE OF SERVICE

     2
               I, Rajan O. Dhungana, hereby certify that on October 7, 2022, I electronically
     3
         filed the foregoing with the Clerk of the Court using the CM/ECF system, which will
     4
         send notification of such filing to the e-mail addresses denoted on the Electronic Mail
     5
         Notice List, and I hereby certify that I have mailed the foregoing document to the non-
     6
         CM/ECF participants indicated on the Manual Notice List.
     7
     8
     9 Dated: October 7, 2022                           By: _________________
    10                                                      Rajan O. Dhungana

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                                                        JOINT REPORT OF MEETING UNDER RULE 26(f)
